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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                      CASE NO. 19-24199-CIV-COOKE/GOODMAN

   GROVE TOWERS CONDOMINIUM ASSOCIATION, INC.,

         Plaintiff,

   v.

   LEXINGTON INSURANCE COMPANY,

         Defendant.
   ____________________________________________________/

   REPORT AND RECOMMENDATIONS ON (1) PLAINTIFF’S MOTION TO STRIKE
     DEFENDANT’S AFFIRMATIVE DEFENSES [ECF No. 7] AND (2) PLAINTIFF’S
         MOTION TO COMPEL APPRAISAL AND STAY OR ABATE THIS
                MATTER PENDING APPRAISAL [ECF No. 15]

         Plaintiff Grove Towers Condominium Association, Inc. (“Grove Towers”) filed a

   Motion to Strike Defendant’s Seventh, Eighth, Ninth, and Tenth Affirmative Defenses

   [ECF No. 7] and a Motion to Compel Appraisal and to Stay or Abate this Matter Pending

   Appraisal. [ECF No. 15]. Defendant Lexington Insurance Company (“Lexington”) filed

   an opposition in response to Grove Towers’ Motion to Strike and Motion to Compel. [ECF

   Nos. 8; 17]. Grove Towers filed a reply in support of its Motion to Strike and its Motion

   to Compel. [ECF Nos. 9; 19]. United States District Judge Marcia G. Cooke referred the

   two motions to the Undersigned for a Report and Recommendations. [ECF No. 18].

         For the reasons stated below, the Undersigned respectfully recommends that the
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   District Court grant Grove Towers’ Motion to Compel Appraisal and to Stay or Abate this

   Matter Pending Appraisal and stay this case (including Grove Towers’ Motion to Strike

   Defendant’s Seventh, Eighth, Ninth, and Tenth Affirmative Defenses) until the appraisal

   is completed.

   I.     Factual Background

          Grove Towers entered into a contract for commercial property insurance with

   Lexington, bearing policy number 41-LX-066415115-1 (the “Policy”), to insure the Grove

   Towers Condominiums located at 2843 S. Bayshore Drive, Coconut Grove, Florida 33133

   (the “Property”) for the period of January 15, 2017 through January 15, 2018. [ECF No. 1-

   2, pp. 12-13]. On or about September 10, 2017, the Property suffered damage as a result

   of Hurricane Irma. Id. at p. 13.

          In its Complaint, Grove Towers alleges that Lexington’s Policy provided coverage

   for the losses, damages, and expenses that Grove Towers incurred. After Hurricane Irma,

   Grove Towers notified Lexington of its insurance claim and Lexington assigned it claim

   number LXCC-4006A9 (the “Claim”). Id. Lexington acknowledged at least some coverage

   for the damage to the Property by issuing Grove Towers payments totaling $1,771,572.81.

   Id.; [ECF No. 17, p. 3]. Nevertheless, Grove Towers alleges that Lexington’s payments fail

   to fully compensate it for the covered damages to its Property. [ECF No. 1-2, p. 13].

          After Lexington informed Grove Towers that it would not pay for any additional

   claimed damage, Grove Towers filed suit against Lexington for breach of the Policy in


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   the Circuit Court of the Eleventh Judicial Circuit of Florida, Miami-Dade County (Case

   No. 2019-020809-CA-01). [ECF Nos. 1-2; 17, p. 3]. Lexington then removed the case to this

   Court. [ECF No. 1].

          On November 21, 2019, counsel for Grove Towers discussed the possibility of

   resolving this case through an appraisal or through mediation. [ECF No. 19, p. 4]. After

   Lexington rejected this offer, on January 9, 2020, Grove Towers notified Lexington’s

   counsel that it was invoking its right to appraisal under the Policy and initially selected

   a public adjuster, Global Pro Recovery, Inc. (“Global Pro”) and its president, Daniel

   Odess, to represent it. [ECF Nos. 15, p. 3; 15-2; 17, p. 5].

          The Policy contains an appraisal provision, which provides:

          Mediation Or Appraisal

          If we and you:
                                                 ***
          B. Disagree on the value of the property or the amount of loss, either may
          request an appraisal of the loss, in writing. In this event, each party will
          select a competent and impartial appraiser. The two appraisers will select
          an umpire. If they cannot agree, either may request that selection be made
          by a judge of a court having jurisdiction. The appraisers will state separately
          the value of the property and amount of loss. If they fail to agree, they will
          submit their differences to the umpire. A decision agreed by any two will
          be binding. Each party will:

          1. Pay its chosen appraiser; and
          2. Bear the other expenses of the appraisal and umpire equally.

   [ECF No. 15-1, p. 30].

          In its motion to compel appraisal, Grove Towers argues that it is entitled to an


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   appraisal because the Policy allows one to be requested and because it is an appraiser’s

   role to determine the damage caused by the covered loss and the amount of the loss. [ECF

   No. 15, pp. 4-5]. Lexington opposes Grove Towers’ request for an appraisal and argues

   that: (1) Grove Towers has waived its right to compel appraisal by actively litigating this

   matter for about six months before demanding appraisal; (2) appraisal is premature

   because unresolved issues of coverage exist; and (3) Grove Towers’ proposed appraiser

   is not impartial. [ECF No. 17].

            In its reply, Grove Towers contends that the case had been before this Court for

   only ninety days before it demanded appraisal, appraisal was discussed with Lexington’s

   counsel in November 2019, and the case has not been litigated extensively. [ECF No. 19,

   pp. 3-5]. Moreover, Grove Towers states that it substituted the originally-selected

   appraiser with a new, impartial appraiser, thereby mooting Lexington’s contention. Id. at

   p. 10.

   II.      Discussion

            A.    Judicial economy and efficiency weigh in favor of an appraisal.

            The Policy between Grove Towers and Lexington contains an appraisal provision.

   [See ECF No. 15-1, p. 30]. “In Florida, appraisal provisions contained within insurance

   policies are generally treated the same as arbitration provisions.” Wright Way Emergency

   Water Removal, LLC v. Mt. Hawley Ins. Co., No. 8:16-cv-1163-T-17MAP, 2016 WL 9526569,

   at *2 (M.D. Fla. July 29, 2016). So “motions to compel appraisal should be granted


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   whenever the parties have agreed to the provision.” Id. (citing Preferred Mut. Ins. Co. v.

   Martinez, 643 So. 2d 1101, 1102 (Fla. 3d DCA 1994)). And the “enforcement of appraisal

   provisions [is] preferred over lawsuits ‘as they provide a mechanism for prompt

   resolution of claims and discourage the filing of needless lawsuits.’” First Protective Ins.

   Co. v. Hess, 81 So. 3d 482, 485 (Fla. 1st DCA 2011).

          When an insurer acknowledges that there is a covered loss, any dispute regarding

   the amount of such loss is appropriate for appraisal. See Gonzalez v. Am. Sec. Ins. Co., No.

   8:15-cv-1515-36EAJ, 2015 WL 12852303, at *4 (M.D. Fla. Nov. 10, 2015). “Notably, in

   evaluating the amount of loss, an appraiser is necessarily tasked with determining both

   the extent of covered damage and the amount to be paid for repairs.” Cincinnati Ins. Co. v.

   Cannon Ranch Partners, Inc., 162 So. 3d 140, 143 (Fla. 2d DCA 2014) (emphasis in original).

   Consequently, the question of what repairs are needed to restore a property is a question

   relating to the amount of loss and not coverage, which is in the province of the court. See

   Baldwin Realty Grp., Inc. v. Scottsdale Ins. Co., No. 6:18-cv-785-Orl-41DCI, 2018 U.S. Dist.

   LEXIS 181709, at *8 (M.D. Fla. Sep. 6, 2018).

          Here, the plain language of the policy gives Grove Towers a right to appraisal, and

   courts interpreting this exact policy provision have determined that to be so. See, e.g., Levi

   Holding, LLC v. Scottsdale Ins. Co., No: 2:18-cv-361-FtM-99CM, 2018 WL 3575082, at **1-2

   (M.D. Fla. July 25, 2018); J&E Invs., LLC v. Scottsdale Ins. Co., No. 16-61688-CIV-

   DIMITROULEAS/Snow, 2016 WL 8793337, at *2 (S.D. Fla. Aug. 18, 2016). Moreover,


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   Lexington has stated that at least some of the damage caused by Hurricane Irma is

   covered, but it disputes the amount of damage. On the other hand, Grove Towers believes

   that the damage caused by Hurricane Irma is much more extensive than Lexington has

   determined. Because there is no dispute between the parties that the cause of at least some

   of the damage to the Property is covered under the Policy, the remaining dispute

   concerning the scope of the damage and the amount owed is appropriate for appraisal.

           B.     Grove Towers has not waived its right to appraisal.

           While courts favor appraisal if the parties’ contract contains a provision, “[a] party

   may . . . waive the right to appraisal if the party maintains a position that is inconsistent

   with the appraisal remedy or participates in extensive litigation and discovery.” Bullard

   Bldg. Condo. Ass'n, Inc. v. Travelers Prop. Cas. Co. of Am., No. 8:06-cv-1194-T-27MSS, 2006

   WL 2787850, at *1 (M.D. Fla. Sept. 26, 2006). Often waiver occurs when the party

   requesting appraisal engages in an aggressive litigation strategy. Lexington argues that

   Grove Towers’ extensive litigation of this case waives its right to an appraisal. [ECF No.

   17, p. 6].

           A review of the record shows that there are only 22 docket entries in this case from

   October 2019 through June 2020. In addition to filing the Complaint, Grove Towers

   attached a request for production of documents to its Complaint. [ECF No. 1-2, pp. 6-11].

   Grove Towers filed its motion to strike [ECF No. 7], filed a reply in support of the motion

   to strike [ECF No. 9], and engaged in a handful of discussions with Lexington to try to


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   resolve the matter and to prepare the joint scheduling report required by this Court. [ECF

   Nos. 16; 17 p. 4; 19, p. 4]. The parties have also fully briefed Grove Towers’ motion to

   compel. [ECF Nos. 15; 17; 19].

          Lexington argues that “Grove Towers has chosen prolonged and active

   participation in the litigation, for some six months, without demanding appraisal under

   the Policy. This decision has caused substantial detriment to Lexington.” [ECF No. 17, p.

   6]. To substantiate this position, Lexington lists the following actions as evidence of Grove

   Towers’ purported “prolonged and active participation in the ligation”: (1) propounded

   a request for production of documents; (2) filed its Certificate of Interested Parties and

   Corporate Disclosure Statement; (3) moved to strike four of Lexington’s affirmative

   defenses; (4) participated in a party conference pursuant to Local Rule 16.1(b); (5) jointly

   filed the Joint Scheduling Report; (6) and discussed mediation and the possibility of

   settlement during a party conference.

          Nevertheless, the Policy’s appraisal clause does not require invocation of the

   appraisal right before suit, and Grove Towers’ request for an appraisal after the lawsuit

   has been filed “is not an action inconsistent with the right to appraisal.” See, e.g., ABC

   Univ. Shops, LLC v. Scottsdale Ins. Co., No. 18-60562-CIV, 2018 WL 6271839, at *8 (S.D. Fla.

   Oct. 18, 2018), report and recommendation adopted 2018 WL 6267943 (S.D. Fla. Nov. 30, 2018);

   see also Am. Capital Assur. Corp. v. Courtney Meadows Apartment, L.L.P., 36 So. 3d 704, 707

   (Fla. 1st DCA 2010) (indicating appraisal demand was timely as policy did not contain


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   any language to invoke appraisal within set time from receiving or waiving sworn proof

   of loss); Fla. Ins. Guar. Ass'n v. Castilla, 18 So. 3d 703, 703-05 (Fla. 4th DCA 2009)

   (explaining appraisal clause may be invoked for first time after litigation has commenced

   and concluding that party did not act inconsistently with right to appraisal by

   participating in suit).

          Moreover, the Undersigned disagrees that the few filings made by Grove Towers

   and its modest litigation efforts before this Court since October 2019 constitute a

   “prolonged and active participation in the litigation.” [ECF No. 17, p. 6]. The fact that

   Grove Towers propounded discovery requests on Lexington does not necessarily mean

   that it waived its right to appraisal. See Bullard Bldg. Condo. Ass'n, Inc., 2006 WL 2787850,

   at *1 (finding that the right to appraisal had not been waived where “[t]he case has not

   been extensively litigated nor have the parties engaged in extensive discovery”); cf. Shoma

   Dev. Corp. v. Rodriguez, 730 So. 2d 838 (Fla. 3d DCA 1999) (finding waiver where parties

   had engaged in aggressive litigation and discovery for seven months before invoking the

   arbitration clause); Gray Mart, Inc. v. Fireman's Fund Ins. Co., 703 So. 2d 1170, 1173 (Fla. 3d

   DCA 1997) (finding waiver where defendant litigated the case for fourteen months and

   did not seek appraisal until after its dispositive motion had been denied).

          Grove Towers engaged in “good faith,” cooperative settlement discussions with

   Lexington in an effort to avoid further litigation and the filing of a motion to compel

   appraisal, but Lexington rejected these offers. [ECF No. 19, p. 4]. Grove Towers’ modest


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   filings in this case and its attempts to resolve this matter early-on do not demonstrate a

   waiver of the right to appraisal by excessively and/or aggressively litigating the case

   before invoking its right to appraisal. See Shoma Dev. Corp., 730 So. 2d at 839; Gray Mart,

   Inc., 703 So. 2d at 1173.

          C.     Appraisal is appropriate at this time.

          Lexington argues that appraisal is inappropriate here because the parties are

   disputing whether coverage exists, not the amount of coverage owed. Grove Towers

   contends that Lexington’s argument is illogical because it has already admitted coverage

   and paid Grove Towers $1,771,572.81 for the property damage claims arising from

   Hurricane Irma, making payments to Grove Towers through March 2019.

          The Undersigned finds that Lexington has admitted coverage under the Policy for

   at least some of the Property’s damage from Hurricane Irma and there is still an issue

   about whether Lexington owes Grove Towers more under the Policy. While litigation of

   coverage questions may proceed simultaneously with appraisal, when the insurer has

   admitted coverage in part, litigation of the coverage questions may be stayed until the

   amount of loss has been determined through appraisal. See Arvat Corp. v. Scottsdale Ins.

   Co., No. 14-22774, 2015 WL 6504587, at **2-3 (S.D. Fla. Oct. 28, 2015) (“After the appraiser

   makes a determination as to the amount of loss attributable to each cause, Defendant may

   still challenge coverage.”).

          An appraiser is in the best position to determine a fair value for the covered


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   damage. Gonzalez, 2015 WL 12852303, at *4 (“[W]hen an insurer acknowledges that there

   is a covered loss, any dispute regarding the amount of such loss is appropriate for

   appraisal.”); Freeman v. American Integrity Ins. Co. of Florida, 180 So. 3d 1203, 1208 (Fla. 1st

   DCA 2015) (“[A]ppraisers are charged with determining the amount of loss when an

   insurer admits to a covered loss and the parties disagree regarding the amount of the

   loss.”). Indeed, an appraisal clause requires “an assessment of the amount of a loss. This

   necessarily includes determinations as to the cost of repair or replacement and whether

   or not the requirement for a repair or replacement was caused by a covered peril or a

   cause not covered, such as normal wear and tear, dry rot, or various other designated,

   excluded causes.” State Farm Fire and Casualty Co. v. Licea, 685 So.2d 1285, 1288 (Fla. 1996).

          While Lexington argues that coverage is still an ongoing dispute in this case,

   arranging an appraisal will not prevent it from continuing to challenge coverage after

   completion of the appraisal. See Arvat Corp., 2015 WL 6504587, at *2. “[T]he submission of

   [a] claim to appraisal does not foreclose . . . challenging an element of loss as not being

   covered by the policy.” Liberty American Ins. Co. v. Kennedy, 890 So.2d 539, 541-42 (Fla. 2d

   DCA 2005).

          Because there is a dispute as to the amount owed for the covered loss, the

   Undersigned respectfully recommends that the case be stayed for an appraisal.




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          D.     Grove Towers has chosen a new, impartial appraiser.

          Lexington challenged the impartiality of the originally-chosen appraiser because

  he is the spouse of Grove Towers’ lead counsel in this case and therefore might have a

  financial interest in the outcome of the case. [ECF No. 17, pp. 14-15].

          In its reply memorandum, Grove Towers informed the Court and Lexington that

  it has “substituted its appraiser and selected an appraiser that is impartial and qualified

  to serve as an appraiser in accordance with the appraisal provision of the policy.” [ECF

  No. 19, p. 10]. Grove Towers’ counsel sent a letter to Lexington’s counsel informing

  Lexington that it will be using Jimmy Farach of All Risk Claims Consultants, Inc. as the

  appraiser. [ECF No. 19-3].

          The Undersigned agrees with Grove Towers that this bias issue is now moot.

   III.   Conclusion

          For these reasons, the Undersigned respectfully recommends that Judge Cooke

   grant Grove Towers’ Motion to Compel Appraisal and to Stay or Abate this Matter

   Pending Appraisal [ECF No. 15] and stay this case, including Grove Towers’ Motion to

   Strike Defendant’s Seventh, Eighth, Ninth, and Tenth Affirmative Defenses [ECF No. 7],

   until the appraisal is completed.




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   IV.     Objections

           The parties will have fourteen (14) days from the date of being served with a copy

   of this Report and Recommendations within which to file written objections, if any, with

   United States District Judge Marcia G. Cooke. Each party may file a response to the other

   party’s objection within fourteen (14) days of the objection. Failure to file objections

   timely shall bar the parties from a de novo determination by the District Judge of an issue

   covered in the Report and shall bar the parties from attacking on appeal unobjected-to

   factual and legal conclusions contained in this Report except upon grounds of plain error

   if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140,

   149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

           RESPECTFULLY RECOMMENDED in Chambers, in Miami, Florida, on June 9,

   2020.




   Copies furnished to:
   The Honorable Marcia G. Cooke
   All Counsel of Record




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